Case 1:21-cv-24441-CMA Document 65-1 Entered on FLSD Docket 06/08/2022 Page 1 of 1




                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.: 21-24441-CIV-ALTONAGA/Torres

   MARK CASSIDY, on behalf of himself
   and others similarly situated,

          Plaintiff,

   v.

   VOYAGER DIGITAL LTD, and
   VOYAGER DIGITAL LLC

         Defendants.
   __________________________________/

                      [PROPOSED] ORDER GRANTING
    PLAINTIFF’S MOTION FOR CERTAIN COUNSEL TO APPEAR AT JUNE 14, 2022
                           HEARING VIA ZOOM

          THIS CAUSE came before the Court upon Plaintiff’s Motion for Certain Counsel to
   Appear at June 14, 2022 Hearing via Zoom, [ECF No. __]. Having considered the documents
   submitted by the parties and the record, and being otherwise fully advised in the premises, it is

          ORDERED AND ADJUDGED as follows:

          1. The Motion is GRANTED. Counsel who will not be arguing the June 14, 2022 hearing
              may attend the hearing via Zoom videoconference at the following location:
                  a. [ZOOM INSTRUCTIONS FOR THE COURT TO ENTER]

          DONE AND ORDERED in Miami, Florida, this ___ of June, 2022.



                                                 _________________________________
                                                 CECILIA M. ALTONAGA
                                                 CHIEF UNITED STATES DISTRICT JUDGE


   Copies furnished to:
   Counsel of record
